      Case 4:23-cv-03516   Document 66     Filed on 11/29/24 in TXSD     Page 1 of 3




                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

 LANDSCAPE CONSULTANTS OF                        Civil Action No. 4:23-cv-03516
 TEXAS, INC., and
 METROPOLITAN LANDSCAPE
 MANAGEMENT, INC.,

                   Plaintiffs,                   PLAINTIFFS’ MOTION FOR
 v.                                               SUMMARY JUDGMENT

 CITY OF HOUSTON, TEXAS, and
 MIDTOWN MANAGEMENT
 DISTRICT,

                   Defendants.

        Plaintiffs Landscape Consultants of Texas, Inc. (Landscape Consultants) and

Metropolitan Landscape Management, Inc. (Metropolitan), by counsel and pursuant

to Rule 56 of the Federal Rules of Civil Procedure, for the reasons stated in the

accompanying brief, move for summary judgment on the grounds that no dispute of

material fact exists and Plaintiffs are entitled to judgment as a matter of law on their

Equal Protection and 42 U.S.C. § 1981 claims.

        Dated: November 29, 2024




                                           1
Case 4:23-cv-03516   Document 66   Filed on 11/29/24 in TXSD   Page 2 of 3




                                       Respectfully submitted,
   Anastasia Boden                      s/ Erin E. Wilcox
   Of Counsel                           Erin E. Wilcox
   Cal. Bar No. 281911                  Attorney-in-Charge
   S.D. Tex. Bar No. 3495077            Cal. Bar No. 337427
   Joshua P. Thompson*                  S.D. Tex. Bar No. 3369027
   Of Counsel                           Pacific Legal Foundation
   Cal. Bar No. 250955                  555 Capitol Mall
   Pacific Legal Foundation             Suite 1290
   555 Capitol Mall                     Sacramento, CA 95814
   Suite 1290                           Telephone: (916) 419-7111
   Sacramento, CA 95814                 Fax: (916) 419-7747
   Telephone: (916) 419-7111            ewilcox@pacificlegal.org
   Fax: (916) 419-7747
   aboden@pacificlegal.org
   jthompson@pacificlegal.org

   *Pro Hac Vice
                         Counsel for Plaintiffs




                                   2
   Case 4:23-cv-03516    Document 66     Filed on 11/29/24 in TXSD    Page 3 of 3




                         CERTIFICATE OF SERVICE

      I hereby certify that on November 29, 2024, I served this document via the

Court’s electronic filing system to Defendants’ counsel of record as follows:

Lori Yount
Senior Assistant City Attorney
Darah Eckert
Senior Asst. City Attorney, General Litigation Section
City of Houston Legal Department
P.O. Box 368
Houston, Texas 77001-368
900 Bagby, 4th Floor
Houston, TX 77002
lori.yount@houstontx.gov
darah.eckert@houstontx.gov

Ben Stephens
Sandy Hellums-Gomez
Jarett Dillard
HUSCH BLACKWELL LLP
600 Travis St., Suite 2350
Houston, Texas 77002
ben.stephens@huschblackwell.com
sandy.gomez@huschblackwell.com
jarett.dillard@huschblackwell.com
Counsel for City of Houston

Brett J. Sileo
Britton B. Harris
Harris Hilburn P.L.L.C.
1111 Rosalie
Houston, Texas 77004
bsileo@hhstxlaw.com
bharris@hhstxlaw.com
Counsel for Midtown Management District
                                                   s/ Erin E. Wilcox
                                                   Erin E. Wilcox
                                                   Pacific Legal Foundation

                                         3
